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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                   HAMMOND DIVISION

 UNITED STATES OF AMERICA,                              )
                                                        )
                                Plaintiff,              )
                                v.                      )       CAUSE NO.: 3:07-CR-13-PPS
                                                        )
 OMAR LOZA,                                             )
                                Defendant.              )

           FINDINGS AND RECOMMENDATION OF THE MAGISTRATE JUDGE
                UPON A PLEA OF GUILTY BY DEFENDANT OMAR LOZA

 TO:    THE HONORABLE PHILIP S. SIMON, JUDGE,
        UNITED STATES DISTRICT COURT

        Upon Defendant Omar Loza’s request to enter a plea of guilty pursuant to Rule 11 of the

 Federal Rules of Criminal Procedure, this matter came for hearing before the undersigned Magistrate

 Judge Paul R. Cherry, on February 20, 2008, with the consent of Defendant Omar Loza, counsel for

 Defendant Omar Loza, and counsel for the United States of America.

        The hearing on Defendant Omar Loza’s plea of guilty was in full compliance with Rule 11,

 Federal Rules of Criminal Procedure, before the undersigned Magistrate Judge in open court and on

 the record.

        In consideration of that hearing, the statements made by Defendant Omar Loza under oath on

 the record and in the presence of counsel, and the remarks of the Assistant United States Attorney and

 of counsel for Defendant Omar Loza,

        I FIND as follows:

        (1) that Defendant Omar Loza understands the nature of the charge against him to which the

 plea is offered;

        (2) that Defendant Omar Loza understands his right to trial by jury, to persist in his plea of

 not guilty, to the assistance of counsel at trial, to confront and cross-examine adverse witnesses, and
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 his right against compelled self-incrimination;

        (3) that Defendant Omar Loza understands what the maximum possible sentence is,

 including the effect of the supervised release term, and Defendant Omar Loza understands that the

 sentencing guidelines apply and that the Court may depart from those guidelines under some

 circumstances;

        (4) that the plea of guilty by Defendant Omar Loza has been knowingly and voluntarily made

 and is not the result of force or threats or of promises;

        (5) that Defendant Omar Loza is competent to plead guilty;

        (6) that Defendant Omar Loza understands that his answers may later be used against him

 in a prosecution for perjury or false statement;

        (7) that there is a factual basis for Defendant Omar Loza’s plea; and further,

        I RECOMMEND that the Court accept Omar Loza’s plea of guilty to the offense charged

 in Count I of the Superseding Indictment and that Defendant Omar Loza be adjudged guilty of the

 offense charged in Count I of the Superseding Indictment and have sentence imposed. A

 Presentence Report has been ordered. Should this Report and Recommendation be accepted and

 Defendant Omar Loza be adjudged guilty, sentencing has been scheduled for June 13, 2008, at 9:30

 a.m. in the Hammond Division, before Judge Philip Simon. The Court ORDERS the United States

 Marshal to PRODUCE Defendant Omar Loza for sentencing. Objections to the Findings and

 Recommendation are waived unless filed and served within ten (10) days. 28 U.S.C. § 636(b)(1)(B).

        So ORDERED this 21st day of February, 2008.

                                                        s/ Paul R. Cherry
                                                        MAGISTRATE JUDGE PAUL R. CHERRY
                                                        UNITED STATES DISTRICT COURT
 cc:    All counsel of record
        Honorable Philip Simon
